Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 1 of 31 Page ID
                                 #:1781




                            EXHIBIT 8
Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 2 of 31 Page ID
                                 #:1782



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  7   Menlo Park, California 94025
      Telephone: 650.461.4433
  8   Facsimile: 650.461.4433
  9   Attorneys for Defendants
      INTERFOCUS, INC. d.b.a.
 10   www.patpat.com
 11                        UNITED STATES DISTRICT COURT
 12                      CENTRAL DISTRICT OF CALIFORNIA
 13 NEMAN BROTHERS & ASSOC.,                   Case No. 2:20-cv-11181-CAS-JPR
      INC., a California Corporation,
 14
                  Plaintiff,                   NOTICE OF DEPOSITION OF
 15                                            PLAINTIFF NEMAN BROTHERS
            v.                                 & ASSOC., INC. PURSUANT TO
 16
      INTERFOCUS, INC. d.b.a.                  FEDERAL RULE OF CIVIL
 17 www.patpat.com, a Delaware                 PROCEDURE 30(b)(6)
      Corporation; CAN WANG, and
 18 individual, and DOES 1-10, inclusive,      Date:         June 14, 2022
 19               Defendants.                  Time:         10:00 a.m.
                                               Location:     Rimon P.C.
 20                                                          2029 Century Park East
 21                                                          Los Angeles, CA 90067
      INTERFOCUS, INC. d.b.a.
 22 www.patpat.com, a Delaware
      Corporation; CAN WANG, and
 23 individual, and DOES 1-10, inclusive,
                                               Judge: Hon. Christine A. Snyder
 24               Counterclaim Plaintiffs      Amended Complaint filed January 5,
 25                                            2021
            v.
 26 NEMAN BROTHERS & ASSOC.,
      INC., a California Corporation,
 27
                  Counterclaim Defendant.
 28

                               NOTICE OF DEPOSITION OF YOEL NEMAN
Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 3 of 31 Page ID
                                 #:1783



  1        TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
  2        PLEASE TAKE NOTICE that pursuant to Rule 30 of the Federal Rules of
  3 Civil Procedure, Defendants and Counterclaim Plaintiffs Interfocus, Inc. d.b.a.

  4 www.patpat.com will take the oral deposition of Neman Brothers & Assoc., Inc..

  5 The deposition will begin on June 14, 2022 at 10:00 a.m. at the law offices of

  6 Rimon, P.C., 2029 Century Park East, Los Angeles, California 90067.

  7        The deposition shall be conducted upon oral examination before a notary
  8 public or other officer authorized by law to take depositions and administer oaths.

  9 The deposition shall be taken stenographically, and may include the instant visual
 10 display of the testimony (i.e., real-time reporting). The deposition may also be

 11 recorded by audio or video technology, including for possible use at trial.

 12        The said examination will be subject to continuance or adjournment until
 13 completed, and shall continue day-to-day, weekends and holidays excepted, until

 14 completed. If a translator is required, notice shall be given within five (5) business

 15 days prior to the noticed date of deposition.

 16        Pursuant to Rule 30(b)(6) of the Federal Rules of Civil Procedure, Neman
 17 Brothers & Assoc., Inc. shall designate one or more officers, directors, managing

 18 agents, employees, or agents who are most qualified to testify on its behalf as to the

 19 following matters:

 20                      DEFINITIONS AND INSTRUCTIONS
 21        1.      1. The following definitions are applicable to the terms employed in
 22 this notice:

 23                a.    “PLAINTIFF” or “YOU” means NEMAN BROTHERS &
 24 ASSOCIATES, INC, and any employees, agents, managers and representatives,

 25 including counsel, who acts for your benefit or on your behalf.

 26                b.    “INTERFOCUS” refers to Defendant and Counterclaim Plaintiff
 27 INTERFOCUS, INC. D.B.A. WWWPATPAT.COM.

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                                            -2-
                           NOTICE OF DEPOSITION OF YOEL NEMAN
Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 4 of 31 Page ID
                                 #:1784



  1               c.     “PERSON” means any natural person or any business, legal, or
  2 government entity.

  3               d.     “ORIGINAL COMPLAINT” means the Complaint YOU filed
  4 in this action on December 9, 2020 as set forth in the Court’s docket herein at ECF

  5 No. 1

  6               e.     “AMENDED COMPLAINT” means the Complaint YOU filed
  7 in this action on January 5, 2020 as set forth in the Court’s docket herein at ECF

  8 No. 10.

  9               f.     “YOUR ALLEGED COPYRIGHTS” refers to each and every
 10 copyright you claim INTERFOCUS infringed in the AMENDED COMPLAINT.

 11               g.     “WORK” OR “WORKS” refers to each work in which you claim
 12 copyright ownership in the ORIGINAL and AMENDED COMPLAINTs.

 13               h.     "COMMUNICATION” shall mean any transmission of
 14 information from one person, or group of persons, to any other person, or group of

 15 persons, regardless of the medium or means by which such transmission occurred,

 16 including, but not limited to, oral, written, face-to-face, telephone, facsimile,

 17 electronic text, electronic mail, postal mail, personal delivery, or otherwise.

 18               i.     “RELATING TO,” “RELATES,” or “RELATE” shall mean
 19 directly or indirectly comprising, concerning, constituting, referring to, reflecting,

 20 mentioning, evidencing, representing, discussing, describing, pertaining to, or

 21 connected with the stated subject matter.

 22               j.     “ANY” shall be understood to include and encompass “ALL.”
 23               l.     “Author” means “the party who actually creates the work, that is,
 24         the person who translates an idea into a fixed, tangible expression entitle to
 25         copyright protection.”
 26         In addition to any definitions specified above, the Local Rules of this Court
 27 are incorporated by reference.

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                                           -3-
                            NOTICE OF DEPOSITION OF YOEL NEMAN
Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 5 of 31 Page ID
                                 #:1785



  1                           TOPICS FOR EXAMINATION
  2        1.     YOUR ALLEGED COPYRIGHTS identified in YOUR AMENDED
  3 COMPLAINT with the U.S. Copyright Office.

  4        2.     YOUR completed registration with the U.S. Copyright Office of each
  5 of YOUR ALLEGED COPYRIGHTS identified in YOUR AMENDED

  6 COMPLAINT. included an instruction sheet immediately preceding the application

  7 form which stated in italics immediately below the title, “Detach and read these

  8 instructions before completing this form.” Plaintiff’s Answer to Defendants’

  9 Counterclaim.
 10        3.     The form YOU used to register with the U.S. Copyright Office each of
 11 YOUR ALLEGED COPYRIGHTS, and the instruction sheet immediately preceding

 12 the application in that form which stated in italics immediately below the title,

 13 “Detach and read these instructions before completing this form.

 14        4.     YOUR knowledge when YOU submitted the applications YOU
 15 completed to register with the U.S. Copyright Office YOUR ALLEGED

 16 COPYRIGHTS identified in YOUR AMENDED that YOU should comply with the

 17 instructions immediately preceding said applications to obtain valid copyright

 18 registrations for the works identified in them.

 19        5.     YOUR knowledge when YOU submitted the applications YOU
 20 completed to register with the U.S. Copyright Office YOUR ALLEGED

 21 COPYRIGHTS identified in YOUR AMENDED that the instructions immediately

 22 preceding said applications described the requirements YOU needed to satisfy to

 23 obtain valid copyright registrations for the works identified in them.

 24        6.     YOUR knowledge when YOU submitted the applications YOU
 25 completed to register with the U.S. Copyright Office YOUR ALLEGED

 26 COPYRIGHTS identified in YOUR AMENDED COMPLAINT that the

 27 information YOU provided in those applications should be accurate.

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                                           -4-
                            NOTICE OF DEPOSITION OF YOEL NEMAN
Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 6 of 31 Page ID
                                 #:1786



  1        7.     YOUR knowledge when YOU submitted the applications YOU
  2 completed to register with the U.S. Copyright Office YOUR ALLEGED

  3 COPYRIGHTS identified in YOUR AMENDED COMPLAINT that providing

  4 inaccurate information in those applications could cause the U. S. Copyright Office

  5 to decline to issue copyright registrations in response to those applications.

  6        8.     YOUR knowledge that the instructions immediately preceding each of
  7 the applications YOU completed to register with the U.S. Copyright Office YOUR

  8 ALLEGED COPYRIGHTS identified in YOUR AMENDED COMPLAINT

  9 included, in the “Line-By-Line Instructions” provided with said applications, an
 10 instruction to identify and provide requested information concerning the “Author(s)”

 11 of each of the works identified in that application.

 12        9.     YOUR knowledge that as used in the Copyright Act and in the
 13 instructions immediately preceding each of the applications YOU completed to

 14 register with the U.S. Copyright Office YOUR ALLEGED COPYRIGHTS

 15 identified in YOUR AMENDED COMPLAINT, “author” meant the party who

 16 actually created the work, that is, the person who translates an idea into a fixed,

 17 tangible expression entitled to copyright protection.

 18        10.    YOUR knowledge that the instructions immediately preceding each of
 19 the applications YOU completed to register with the U.S. Copyright Office YOUR

 20 ALLEGED COPYRIGHTS identified in YOUR AMENDED COMPLAINT

 21 included, in the “Line-By-Line Instructions” provided with said applications, an

 22 instruction to identify and provide requested information concerning the “copyright

 23 claimant(s)” for each of the works identified in that application.

 24        11.    YOUR knowledge that the instructions immediately preceding each of
 25 the applications YOU completed to register with the U.S. Copyright Office YOUR

 26 ALLEGED COPYRIGHTS identified in YOUR AMENDED COMPLAINT

 27 included, in the “Line-By-Line Instructions” provided with said applications, an

 28 instruction to identify and provide requested information concerning each

                                           -5-
                            NOTICE OF DEPOSITION OF YOEL NEMAN
Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 7 of 31 Page ID
                                 #:1787



  1 “derivative work” included that application.

  2        12.   All facts and circumstances surrounding YOUR identification of
  3 Neman Brothers as the sole author of each of the works YOU identified in each of

  4 the applications YOU completed to register with the U.S. Copyright Office YOUR

  5 ALLEGED COPYRIGHTS identified in YOUR AMENDED COMPLAINT.

  6        13.   YOUR knowledge that Neman Brothers was not the sole author of each
  7 of the works identified in each of the applications YOU completed to register

  8 YOUR ALLEGED COPYRIGHTS identified in YOUR AMENDED COMPLAINT

  9 with the U.S. Copyright Office.
 10        14.   YOUR knowledge that each of the applications YOU completed to
 11 register YOUR ALLEGED COPYRIGHTS identified in YOUR AMENDED

 12 COMPLAINT with the U.S. Copyright Office included works authored by

 13 individuals or companies other than Neman Brothers.

 14        15.   YOUR knowledge that some of the works identified in each of the
 15 registrations identified in YOUR AMENDED COMPLAINT were authored by third

 16 party design studios from whom YOU purchased rights.

 17        16.   YOUR knowledge that YOU did not identify as authors of those works
 18 identified in each of the registrations identified in YOUR AMENDED

 19 COMPLAINT works that were authored by third party design studios from whom

 20 YOU purchased rights.

 21        17.   YOUR knowledge that some of the works identified in each of the
 22 registrations identified in YOUR AMENDED COMPLAINT were authored by third

 23 party design studios from whom YOU purchased rights when you filed the

 24 copyright applications for those works.

 25        18.   YOUR knowledge that each of the applications YOU completed to
 26 register YOUR ALLEGED COPYRIGHTS identified in YOUR AMENDED

 27 COMPLAINT with the U.S. Copyright Office included works authored by

 28 individuals or companies other than Neman Brothers when YOU filed said

                                          -6-
                           NOTICE OF DEPOSITION OF YOEL NEMAN
Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 8 of 31 Page ID
                                 #:1788



  1 applications.

  2        19.      YOUR knowledge that the copyright registrations that include the
  3 works YOUR AMENDED COMPLAINT alleges InterFocus infringed state that

  4 Neman Brothers is the sole author (as a work made for hire) of all of the works

  5 listed in those registrations, including the three works YOUR AMENDED

  6 COMPLAINT alleges InterFocus infringed.

  7        21.      YOUR knowledge that YOUR applications to register YOUR
  8 ALLEGED COPYRIGHTS identified in YOUR AMENDED COMPLAINT had to

  9 comply with the requirements of the Copyright Act set forth in 17 U.S.C. §§ 408(a),
 10 409 and 410 when YOU filed those applications.

 11        22.      YOUR knowledge that when YOU filed YOUR applications to register
 12 YOUR ALLEGED COPYRIGHTS identified in YOUR AMENDED COMPLAINT

 13 that those applications had to comply with the requirements of the Copyright Act set

 14 forth in 17 U.S.C. §§ 408(a), 409 and 410.

 15        23.      Whether YOUR applications to register YOUR ALLEGED
 16 COPYRIGHTS identified in YOUR AMENDED COMPLAINT complied with the

 17 requirements of the Copyright Act set forth in 17 U.S.C. §§ 408(a), 409 and 410

 18 when YOU filed those applications.

 19        24.      Whether YOUR applications to register YOUR ALLEGED
 20 COPYRIGHTS identified in YOUR AMENDED COMPLAINT involved

 21 unpublished collections of works as described in applicable Copyright Office

 22 regulations set forth in the Compendium of U.S. Copyright Office Practices in effect

 23 when YOU filed those applications.

 24        25.      Whether YOUR applications to register YOUR ALLEGED
 25 COPYRIGHTS identified in YOUR AMENDED COMPLAINT involved

 26 unpublished collections of works as described in applicable Copyright Office

 27 regulations set forth in the Compendium of U.S. Copyright Office Practices in effect

 28 when YOU filed those applications.

                                            -7-
                             NOTICE OF DEPOSITION OF YOEL NEMAN
Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 9 of 31 Page ID
                                 #:1789



  1         26.   Whether YOUR applications to register YOUR ALLEGED
  2 COPYRIGHTS identified in YOUR AMENDED COMPLAINT complied with the

  3 Copyright Office regulations that applied to unpublished collections of works as

  4 described in the Compendium of U.S. Copyright Office Practices in effect when

  5 YOU filed those applications.

  6        27.    Your knowledge that YOUR applications to register YOUR
  7 ALLEGED COPYRIGHTS identified in YOUR AMENDED COMPLAINT did not

  8 comply with the Copyright Office regulations that applied to unpublished

  9 collections of works as described in the Compendium of U.S. Copyright Office
 10 Practices in effect when YOU filed those applications.

 11        28.    YOUR knowledge that YOU included works in YOUR applications to
 12 register YOUR ALLEGED COPYRIGHTS identified in YOUR AMENDED

 13 COMPLAINT that did not comply with the Copyright Office regulations that

 14 applied to unpublished collections of works as described in the Compendium of U.S.

 15 Copyright Office Practices in effect when YOU filed those applications.

 16        29.    All facts and circumstances relating to the copyright applications YOU
 17 filed with the U.S. Copyright Office to obtain all of the copyright registrations

 18 identified in the printout from the Copyright Office’s online database attached as

 19 Exhibit A.

 20        30.    YOUR knowledge that all of YOUR applications to obtain the
 21 registrations identified in Exhibit A submitted before January 1, 2019, YOU were

 22 required to identify “all of the authors who created or co-created any elements [in

 23 the collection],” as set forth in the Compendium of U.S. Copyright Office Practices

 24 in effect when YOU filed those applications.

 25        31.    YOUR knowledge that all of YOUR applications to obtain the
 26 registrations identified in Exhibit A submitted before January 1, 2019, YOU did not

 27 identify “all of the authors who created or co-created any elements [in the

 28 collection]” as set forth in the Compendium of U.S. Copyright Office Practices in

                                           -8-
                            NOTICE OF DEPOSITION OF YOEL NEMAN
Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 10 of 31 Page ID
                                 #:1790



  1 effect when YOU filed those applications.

  2        32.    YOUR knowledge that the application forms YOU used to complete all
  3 of YOUR applications to obtain the registrations identified in Exhibit A came with

  4 attached instructions that stated immediately below the title in italics, “Detach and

  5 read these instructions before completing this form.”

  6        33.    YOUR knowledge that when YOU submitted the applications to obtain
  7 the copyright registrations identified in Exhibit A that YOU should comply with the

  8 instructions immediately preceding said applications to obtain valid copyright

  9 registrations for the works identified in them.
 10        34. YOUR knowledge that when YOU submitted the applications to obtain
 11 the copyright registrations identified in Exhibit A, the instructions immediately

 12 preceding said applications described the requirements YOU needed to satisfy to

 13 obtain valid copyright registrations for the works identified in them.

 14        35.    YOUR knowledge that YOU identified Neman Brothers as the sole
 15 author of each of the works YOU identified in each of the applications YOU

 16 completed to register with the U.S. Copyright Office those copyright registrations

 17 identified in Exhibit A.

 18        36.    YOUR identification of Neman Brothers as the sole author of each of
 19 the works YOU identified in each of the applications YOU completed to register

 20 with the U.S. Copyright Office those copyright registrations identified in Exhibit A..

 21        37.    Whether Neman Brothers was the sole author of each of the works
 22 YOU identified in each of the applications YOU completed to register with the U.S.

 23 Copyright Office those copyright registrations identified in Exhibit A.

 24        38.    YOUR knowledge that Neman Brothers was not the sole author of each
 25 of the works YOU identified in each of the applications YOU completed to register

 26 with the U.S. Copyright Office those copyright registrations identified in Exhibit A

 27 when YOU filed those applications.

 28        39.    Your knowledge that YOU never filed any supplemental copyright

                                           -9-
                            NOTICE OF DEPOSITION OF YOEL NEMAN
Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 11 of 31 Page ID
                                 #:1791



  1 applications for to add to or correct any of the information YOU provided in the

  2 applications YOU completed to register with the U.S. Copyright Office YOUR

  3 ALLEGED COPYRIGHTS identified in YOUR AMENDED COMPLAINT.

  4

  5 Dated: May 19, 2022                        RIMON, P.C.

  6                                      By:        /s/ Mark S. Lee
  7                                            Mark S. Lee
                                               Zheng Liu
  8
                                               Attorneys for Defendants and
  9                                            Counterclaim Plaintiffs
 10                                            INTERFOCUS, INC. d.b.a.
                                               www.patpat.com
 11

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                                          -10-
                           NOTICE OF DEPOSITION OF YOEL NEMAN
Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 12 of 31 Page ID
                                 #:1792



  1                                PROOF OF SERVICE
  2        I, Jenny Houston, am over the age of 18 and not a party to this action. My
  3 place of business is 800 Oak Grove Avenue, Suite 250, Menlo Park, CA 94025. On

  4 May 19, 2022, I served the following attached document(s):

  5               NOTICE OF DEPOSITION OF YOEL NEMAN
  6 on the person(s) listed below in the following manner/s:

  7
               BY ELECTRONIC MAIL. I sent the person(s) below copies of
  8           the documents via electronic mail at the email address(es) below.

  9            BY UNITED STATES MAIL. I enclosed the document(s) in a
 10            sealed envelope or package addressed to the person(s) at the
               address(es) below and placed the envelope for collection and
 11            mailing following our ordinary business practices. I am readily
 12           familiar with this business’ practice for collecting and processing
               documents for mailing. On the same day that correspondence is
 13            placed for collection and mailing, it is deposited in the ordinary
 14            course of business with the United States Postal Service in a sealed
               envelope with postage fully prepaid.
 15

 16        The following party was served the above-referenced document(s):
 17                        Chan Yong Jeong, Esq. (SBN: 255244)
                                 jeong@jeonglikens.com
 18
                                JEONG & LIKENS, L.C.
 19                             222 South Oxford Avenue
                              Los Angeles, California 90004
 20
                                 Telephone: 213.688.2001
 21                              Facsimile: 213.315.5035
 22        I declare under penalty of perjury under the laws of the State of California
 23 that the foregoing is true and correct.

 24

 25 DATED: May 19, 2022                           /s/ Jenny Houston
                                                       JENNY HOUSTON
 26

 27

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                                           -11-
                            NOTICE OF DEPOSITION OF YOEL NEMAN
Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 13 of 31 Page ID
                                 #:1793




                EXHIBIT A
Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 14 of 31 Page ID
                                 #:1794
Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 15 of 31 Page ID
                                 #:1795
Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 16 of 31 Page ID
                                 #:1796
Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 17 of 31 Page ID
                                 #:1797
Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 18 of 31 Page ID
                                 #:1798
Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 19 of 31 Page ID
                                 #:1799
Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 20 of 31 Page ID
                                 #:1800
Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 21 of 31 Page ID
                                 #:1801
Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 22 of 31 Page ID
                                 #:1802
Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 23 of 31 Page ID
                                 #:1803
Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 24 of 31 Page ID
                                 #:1804
Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 25 of 31 Page ID
                                 #:1805
Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 26 of 31 Page ID
                                 #:1806
Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 27 of 31 Page ID
                                 #:1807
Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 28 of 31 Page ID
                                 #:1808
Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 29 of 31 Page ID
                                 #:1809
Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 30 of 31 Page ID
                                 #:1810
Case 2:20-cv-11181-CAS-JPR Document 96-9 Filed 10/27/22 Page 31 of 31 Page ID
                                 #:1811
